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8

9                            UNITED STATES DISTRICT COURT
10
                          SOUTHERN DISTRICT OF CALIFORNIA
11

12

13      CYNTHIA CUMMINS,                            )   CASE NO. '18CV0052 LAB WVG
                                                    )
14
                                                    )   COMPLAINT FOR DISABILITY
                    Plaintiff,                      )   BENEFITS UNDER ERISA
              vs.                                   )
15                                                  )
                                                    )   29 U.S. Code Section 1132(a)(1)(B)
16                                                  )
                                                    )
17      THE LINCOLN NATIONAL LIFE                   )
        INSURANCE COMPANY,                          )
18                                                  )
                                                    )
19                   Defendant.                     )
                                                    )
20                                                  )
                                                    )
21                                                  )
                                                    )
22
                    Plaintiff CYNTHIA CUMMINS alleges as follows:
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24            1.    At all times relevant herein, Plaintiff, CYNTHIA CUMMINS, was an

25      individual residing in San Diego County, California.

26            2.    On or about April 30, 2012, plaintiff became employed by Plaza Home

27      Mortgage, Inc., as an accounting clerk.

28            3.    Plaza Home Mortgage, Inc., sponsored a group disability plan (the

                                                      1
                                 COMPLAINT FOR DISABITY BENEFITS UNDER ERISA
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2       Plan), which was administered and underwritten by defendant THE LINCOLN
3       NATIONAL LIFE INSURANCE COMPANY.
4             4.     Defendant    THE    LINCOLN       NATIONAL        LIFE   INSURANCE
5       COMPANY (hereinafter called “LINCOLN NATIONAL”), formerly known as
6       Jefferson Pilot Financial Insurance Company, is a corporation licensed to sell
7       insurance and doing business as an insurer in the State of California, with a
8       principal place of business in the State of North Carolina.
9             5.     The employer-sponsored group disability plan and the claim at issue in
10
        this action are governed by the Employee Retirement Income Security Act of 1974
11
        (ERISA), 29 U.S. Code Section 1001. et. seq.
12
              6.     On or about April 17, 2014, plaintiff became disabled within the
13
        definition of the disability benefit plan, and soon thereafter, and in a timely
14
        fashion, she made a claim for benefits under said plan.
15
              7.     Plaintiff was initially paid benefits pursuant to the plan however on or
16
        August 4, 2016, plaintiff’s claim for ongoing disability benefits and waiver of her
17
        life insurance premium was denied. Plaintiff remains disabled as defined by the
18
        plan to this date, and continues to be eligible for long term disability and life
19
        insurance premium benefits under the plan.
20
              8.      Plaintiff made a timely administrative appeal of the denial; the
21
        administrative appeal was denied in a letter dated December 4, 2017, thereby
22
        exhausting the Plan’s administrative appeal process.
23

24
              WHEREFORE, plaintiff prays judgment from the Court as follows:
25
              1. Declaring that plaintiff is covered for past and ongoing disability benefits
26
        and waiver of her life insurance premiums under the Plan;
27
              2. For past-due benefits in the amount of approximately $2,229 per month
28
        through the date of filing, and additional benefits accumulating at the same
                                                  2
                             COMPLAINT FOR DISABITY BENEFITS UNDER ERISA
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2       monthly rate;
3             3.   For interest on past due benefits;
4             4.   For reasonable attorney’s fees;
5             5.   For costs of suit herein;
6             6.   For such other relief as the court deems proper.
7

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9
        Dated: 1/12/18                         ILER & ILER, LLP
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                                               By:      s/ Brooks L. Iler
12                                                      Brooks L. Iler
13                                                      Attorneys for Plaintiff,
                                                        CYNTHIA CUMMINS
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                             COMPLAINT FOR DISABITY BENEFITS UNDER ERISA
